                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION

 Donald J. Trump, Candidate for President of          )
 the United States of America,                        )
                                                      )
                Plaintiff,                            )
                                                      )
         vs.                                          )
                                                      ) Case No. 2:20-cv-01785-BHL
 The Wisconsin Elections Commission, et al.           )
                                                      )
                Defendants.                           )
                                                      )
                                                      )

                  STIPULATION OF PROPOSED FACTS AND EXHIBITS

       Plaintiff Donald J. Trump, by counsel, and Defendants the Wisconsin Elections

Commissions and its members (“WEC”), Scott McDonell in his official capacity as the Dane

County Clerk, George L. Christenson in his official capacity as the Milwaukee County Clerk,

Julietta Henry in her official capacity as the Milwaukee Election Director, Claire Woodall-Vogg

in her official capacity as the Executive Director of the Milwaukee Election Commission, Mayor

Tom Barrett, Jim Owczarski, Mayor Satya Rhodes-Conway, Maribeth Witzel-Behl, Mayor Cory

Mason, Tara Coolidge, Mayor John Antaramina, Matt Krauter, Mayor Eric Genrich, Kris Teske,

in their official capacities, Douglas J. La Folette, Wisconsin Secretary of State, in his official

capacity, and Tony Evers, Governor of Wisconsin, in his official capacity, as well as all

Intervenor Defendants (collectively, “Defendants”), all by counsel, here stipulate to the

following:

                                    SITUPLATED EXHIBITS

       1.      Subject to the objection listed in Paragraph 2 below, the Parties stipulate

Plaintiff’s Exhibits 1-75 and Defendants’ Exhibits 501-506 are admissible into evidence in their

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entirety and useable for all purposes and that statements attributed to any Defendant therein is a

true and accurate record of their prior statements and useable for all purposes, subject to

paragraph 2 below.

       The Parties further agree not to oppose the introduction of or reliance on any documents

 or declarations attached to, referenced in, or filed with any of the Defendants’ briefing on the

 Motions To Dismiss or Request for Temporary Restraining Order.

       2.      Defendants contend that Plaintiff’s exhibits are not relevant to this action, and that

their consideration at the hearing is likely to cause delay and confusion, including because the

exhibits will need to be placed in context. Defendants therefore object, and will briefly restate

their objection on the record, to the use of these exhibits at today’s hearing under FRE 401 and

403. Subject to preserving that objection, Defendants will not oppose introduction and use of

Plaintiff’s exhibits. In sum, for purposes of this action Defendants reserve relevance and

competence objections, and reserve the right to introduce additional testimony and evidence

(including exhibits not heretofor disclosed as exhibits) to place the documents in context. For

clarity, Defendants do not stipulate to the accuracy of any of the information in Plaintiff’s

exhibits.

                                     UNDISPUTED FACTS

       3.      Plaintiff contends that the facts set forth below would be sufficient to establish a

prima facie case for his claim. Defendants disagree, but do not dispute the facts set forth below

(whether on relevance, hearsay, or other grounds) for purposes of allowing the Court to assess

Plaintiff’s claims. Defendants reserve the right to put on additional evidence to place Plaintiff’s

evidence and claim in context should the Court conclude that live witnesses are necessary.




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       4.      The election-related procedures at issue in this action (specifically, election

officials’ treatment of witness address corrections, drop-boxes, and indefinitely confined voter

status), were made public before November 3, 2020. Specifically:

               a. The witness address guidance issued on October 19, 2016;

               b. The indefinitely confined voter guidance issued on March 29, 2020; and

               c. The drop boxes guidance issued on August 19, 2020.

       5.      Plaintiff President Trump did not bring any legal challenge to any of the

procedures identified in Stipulated Fact No. 4 before November 3, 2020.

       6.      President Trump did bring at least the following pre-election actions challenging

election procedures in other states: Donald J. Trump for Pres., Inc. v. Boockvar, No. 2:20-cv-

00966 (W.D. Pa.); Donald J. Trump for President v. Cegavske No. 2:20-cv-01445 (D. Nev.);

Donald J. Trump for President v. Murphy No. 3:20-cv-10753 (D.N.J.); Donald J. Trump for

President et al v. Bullock et al No. 6:20-cv-00066 (D. Mont.); Donald J. Trump for Pres., Inc. v.

Philadelphia Cnty. Bd. of Elections No. 200902035 (Penn. Ct. Common Pleas, Philadelphia

Cnty.); Donald J. Trump for President v. Gloria No. A-20-824153-C (Nev. Dist. Ct.); Donald J.

Trump for Pres., Inc. v. Philadelphia Cnty. No. 983 CD 2020 (Pa. Commw. Ct.); Donald J.

Trump for President v. Simon, No. A20-1362 (Minn. Sup. Ct.). Plaintiff contends that suits

brought in other states are not relevant to this action, and that their consideration at the hearing is

likely to cause delay and confusion. Plaintiff therefore objects, and will briefly restate the

objection on the record, to the consideration of these suits at the hearing under FRE 401 and 403.

       7.      The November 3, 2020 election took place on that day. Nearly 3.3 million

Wisconsin voters cast a vote in that election.




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       8.      On November 17, 2020, the last county canvass was submitted to the WEC. The

final state canvass was completed on November 30, 2020.

       9.      The deadline for requesting a recount in Wisconsin was November 18, 2020, and

on that day President Trump formally requested a recount for Dane and Milwaukee

counties. President Trump did not challenge Wisconsin’s canvass results as to any other

counties. The cost to file for this recount was $3 million. It would have cost approximately $8

million to conduct a recount of the entire state.

       10.     There was a recount in Dane and Milwaukee Counties which was completed on

November 27, 2020 in Milwaukee County, and on November 29, 2020 in Dane County. Those

recounts confirmed the results of the initial canvass, though they are now subject to an appeal

currently pending before Judge Simanek.

       11.     Municipal clerks and election officials in Milwaukee County, the City of

Milwaukee, Dane County, and the City of Madison used the written guidance from the WEC

contained in the documents identified on the Parties’ exhibit lists to guide their treatment of

absentee ballot witness certificate addresses, use of absentee ballot drop boxes and handling of

voters claiming indefinitely confined status.

       12.     WEC does not maintain records concerning the number of ballots deposited in

absentee ballot drop boxes and does not require that such records be maintained.

       13.     As of November 1, 2020, the City of Madison had collected approximately 9,346

absentee ballots from dropboxes in the city for the November 3, 2020 election, that figure

represents approximately 7% of absentee ballots received in the City of Madison. This is the

best information currently available from the City of Madison.




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          14.     For the November 3, 2020 election, the City of Milkwaukee had returned 169,519

absentee ballots, of those only approximately 108,000 were non in-person absentee ballots, of

those 60-70% are estimated to have been returned via dropbox. This is the best information

currently available from the City of Milkwaukee.

          15.     A total of 17,271 absentee ballots were collected through Democracy in the Park

events in the 2020 Election in the City of Madison. Because of ballot secrecy, the totals of those

ballots for each candidate are unknown.

          16.     City of Madison Clerk Maribeth Witzel-Behl referred to the election workers who

received absentee ballots at the Democracy in the Park events as “human drop boxes.”

          17.     Some absentee ballots that were counted as valid votes as of the Recount

Conclusion Date had information added to the witness address on the ballot envelope by an

election worker (including but not limited to by a municipal clerk or an employee of a municipal

clerk or other election administrator) in the 2020 Election in Wisconsin. 1 Municipal clerks’

offices do not keep statistics or records concerning election workers adding to witness

certifications that would allow calculation of the number of such additions. Nor are there any

records that would allow anyone to ascertain for whom such ballots were cast.

          18.     As of November 10, 2020, approximately 240,000 requests for absentee ballots on

and indefinitely confined basis were received, but they were not necessarily cast and counted on

that basis. Efforts are still being undertaken to reconcile how many of such ballots were cast and

counted on that basis. This is the best information currently available for the WEC.

          19.     Defendants agree and stipulate that the total number of indefinitely confined

absentee ballots cast and counted in the 2016 general presidential election was 66,611. This


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    Defendant WEC does not maintain this data, nor is it required to.


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represents 7.8% of absentee ballots cast in that election. Because of ballot secrecy, it is unknown

for whom such ballots were cast.

       20.      Defendants agree and stipulate that the total number of indefinitely confined

ballots cast and counted in the April 2019 non-partisan election was 71,157. This represents

40.67% of absentee ballots cast in that election. Because of ballot secrecy, it is unknown for

whom such ballots were cast.

       21.     As of the November 3, 2020 election, a total of 11,374 voters in the City of

Madison were listed in official records as having identified themselves as indefinitely confined.

       22.     As of the November 3, 2020 election, a total of 29,391 voters in the City of

Milwaukee were listed in official records as having identified themselves as indefinitely

confined.

       23.     On or about, March 25, 2020, the Clerk of Dane County, Scott McDonell, issued

the following statement on his official Facebook page:

       I have informed Dane County Municipal Clerks that during this emergency and
       based on the Governors Stay at Home order I am declaring all Dane County
       voters may indicate as needed that they are indefinitely confined due to illness.
       This declaration will make it easier for Dane County voters to participate in this
       election by mail in these difficult times. I urge all voters who request a ballot and
       have trouble presenting [a] valid ID to indicate that they are indefinitely
       confined.

       People are reluctant to check the box that says they are indefinitely confined but
       this is a pandemic…. The process works like this:

       • A voter visits myvote.wi.gov to request a ballot.

       • A voter can select a box that reads “I certify that I am indefinitely confined due
       to age illness, infirmity or disability and request ballots be sent to me for every
       election until I am no longer confined or fail to return a ballot.[”]

       • The voter is then able to skip the step of uploading an ID in order to receive a
       ballot for the April 7 election. Voters are confined due to the COVID-19 illness.
       When the Stay at Home order by the Governor is lifted, the voter can change their

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       designation back by contacting their clerk or updating their information in
       myvote.wi.gov. Voters who are able to provide a copy of their ID should do so
       and not indicate that they are indefinitely confined.

       24.     On March 25, 2020, the Dane County Clerk emailed the same announcement and

instructions to all clerks responsible for administering elections in the municipalities within Dane

County.

       25.     The Clerk of Milwaukee County, George Christenson, issued a similar statement

to Clerk McDonell’s March 25, 2020 statement.

       26.     On March 31, 2020, Milwaukee County Clerk George Christenson deleted his

original statement regarding the COVID-19 pandemic and placed the following statement on his

Facebook page. He also issued a press release with the same statement below.

       This statement replaces the statement issued by the Milwaukee County Clerk’s Office on
       March 25th to reflect guidance adopted and other decisions by the Wisconsin Election
       Commission (WEC) since that date. As always, the Clerk’s Office is here to serve the
       citizens of Milwaukee County. If you have any questions about the upcoming election,
       please call 414-278-8683. That number once again is 414-278-VOTE!

       The Wisconsin Election Commission (WEC) met on Friday, March 27th to clarify Wis.
       Stat. § 6.86(2)(a) given the Governor’s “Safer at Home Order.” Specifically, Section
       6.86(2)(a) reads in relevant part:


               An elector who is indefinitely confined because of age, physical illness or
               infirmity or is disabled for an indefinite period may by signing a statement to that
               effect require that an absentee ballot be sent to the elector automatically for every
               election.

       The WEC Board of Commissioners adopted two points of guidance on Friday, March 27,
       2020:

               1.      Each voter must decide for themselves whether they qualify for the
               “indefinitely confined” photo identification exception based upon their current
               circumstances. “Indefinite confinement” does not require permanent or total
               inability to travel outside of the residence. The designation is appropriate for
               electors who are indefinitely confined because of age, physical illness, or
               infirmity, or disability.



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               2. Indefinitely confined status shall not be used by electors simply as a means to
               avoid the photo identification requirement without regard to whether they are
               indefinitely confined because of age, physical illness, infirmity, or disability.

       Voters should follow this guidance when determining whether they are indefinitely
       confined, considering the COVID-19 global pandemic, the Governor's Safer at Home
       Emergency Order, and the individual circumstances of each voter. If a voter determines
       that they are “indefinitely confined” because of age, physical illness, infirmity or
       disability, they do not need to upload evidence of a photo ID to receive a ballot for the
       April 7 election.

       It is very important to note that “indefinite confinement” based only upon the Governor’s
       Safer at Home Emergency Order cannot be used to legally avoid the photo ID
       requirement. An elector must meet the above-noted requirements of Wis. Stat. §
       6.86(2)(a).

       I hope this information is helpful. For additional voting information, you may also visit
       MyVoteWisconsin.

       27.     Absentee Ballot Boxes used by municipalities in Dane and Milwaukee Counties

were not staffed by the municipal clerk or the executive director of the board of election

commissioners, or employees of the clerk or the board of election commissioners.

       28.     Over five hundred Absentee Ballot Boxes were used in the 2020 Presidential

Election in Wisconsin.

       29.     The City of Milwaukee used 15 Absentee Ballot Boxes in the 2020 Presidential

Election.

       30.     The City of Madison added Absentee Ballot Boxes on October 16, 2020. One of

the Absentee Ballot Boxes was placed in a large public park in Madison not adjacent to any

building.

       31.     The City of Madison held “Democracy in the Park” events on September 26, 2020

and October 3, 2020, at which voters could drop off completed ballots at any of Madison’s 206

city parks.




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       32.     On September 26, 2020, 10,813 ballots were collected at the City of Madison held

“Democracy in the Park” event.

       33.     Election workers were trained that missing information relating to a witness

address could be written on the ballot envelope in red if the election worker was able to locate

the witness’s address.

       34.     Republicans, Democrats, and Independents were limited to 15 observers at the

City of Milwaukee Central Count location where more than 200 election workers counted

absentee ballots.

       35.     Wisconsin engaged in a recount in Dane and Milwaukee Counties, with

preliminary vote totals from the November 3, 2020 election showing a more than 20,000 vote

difference margin between Vice President Joe Biden and President Trump.

       36.     Bart Williams (“Williams”) was admitted as an Observer for the November 3,

2020 election and worked at the City of Milwaukee Central Count at 501 W. Michigan St.

Milwaukee, WI. On December 10, 2020, counsel for Plaintiff provided an unsigned affidavit for

Mr. Williams, attached as Exhibit A, in support of Plaintiff’s motion. To the extent that

Plaintiff’s counsel submits a signed copy of Mr. Williams’s affidavit before the conclusion of

these proceedings, Defendants do not dispute the authenticity of the affidavit or challenge it on

hearsay grounds, and agree the Court may consider it to the extent it may be considered

competent, relevant, and material evidence with respect to the issues.

       37.     On December 10, 2020, counsel for Plaintiff provided an unsigned affidavit for

David Bolter, attached as Exhibit B. To the extent that Plaintiff’s counsel submits a signed copy

of Mr. Bolter’s affidavit before the conclusion of these proceedings, Defendants do not dispute

the authenticity of the affidavit or challenge it on hearsay grounds, and agree the Court may



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consider it to the extent it may be considered competent, relevant, and material evidence with

respect to the issues.




 Date December 10, 2020                           Date December 10, 2020


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                                      Clerk of the City of Green Bay




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                 DECLARATION OF BARTHOLOMEW R. WILLIAMS


1. My name is Bartholomew R. Williams, I am over the age of 18. All facts stated
   herein are true and based on my personal knowledge;

2. I am a resident of Milwaukee, Wisconsin.

3. I was an independent observer at the Central Count facility for Milwaukee, Wisconsin
   in the November 3, 2020 election;

4. I arrived at the Milwaukee Central Counting facility at 6 am on Tuesday, November
   3, 2020, but was not allowed on the counting floor until 7:30 am. By that time
   counting had been going on for at least 30 minute;

5. I did not enter or attempt to enter restricted places at Central Count. I did not interfere
   with the process of ballot processing, nor mark or alter any official record;

6. Claire Woodall-Vogg, Brenda Wood and several supervisors (who did not have name
   badges) refused to allow me to remain in an unobtrusive area of the ballot
   processing/counting area from which I could reasonably see and hear what was
   occurring for the vast majority of the tables being used for counting/processing.

7. Many of the ballot counters were seated so that the observation areas and distances
   from their seating did not permit me to see the ballots, in some cases at all, but in
   many, to the extent that I could see any violations of the ballot voting requirements if
   they existed;

8.    I began to create a log of ballots that were visible to me that were subject to
     challenge, but after 5 entries, I was told that I could not do that by Brenda Wood as it
     was slowing down the voting. I asked that the names of voters and ballot numbers be
     called out since I was too far away to read the ballots and that was refused;

9. It was acknowledged to me by Brenda Wood and another supervisor that the election
   staff had made changes to many of the ballots where a pre-printed 10 day residency
   statement was crossed out in red ink and changed to 28 days;

10. Claire Woodall-Vogg announced on a loud speaker that challenges concerning the 10
    day / 28 day ballot markup would not be allowed;

11. She made a separate announcement that ballot counters who happened on a ballot
    without a witness address could go to a computer, look the address up and insert it on



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   the ballot, but there was no mention of any procedure to verify the address;

12. My estimate is that roughly 20% of the ballots had changes marked to the 10/28 day
    residency statement.



   I affirm under the penalties of perjury the foregoing statements are true and correct
   (28 U.S.C. Sec. 1746)


   Dated December 10, 2020                   ____________________________
                                             Bartholomew R. Williams




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                       DECLARATION OF DAVID J. BOLTER


1. My name is David J. Bolter, I am over the age of 18. All facts stated herein are true
   and based on my personal knowledge;

2. I am a resident of Milwaukee Wisconsin.

3. I was a paid ballot counter at the Central Count facility for Milwaukee, Wisconsin in
   the November 3, 2020 election;

4. While working, I saw 100’s of ballots with the pre-printed 10 day residency
   requirement crossed out and filled in with 28 days in red ink;

5. I made objections to ballots with the red ink inserts and crossouts to Clarie Woodall-
   Vogg, but they were ignored;

6. I objected to writing in unconfirmed witness addresses on ballot envelopes;

7. I saw many ballot envelopes with no signature on the witness signature line, but with
   a signature on the “assistant” signature line and objected, but Ms. Woodall-Vogg
   announced the ballot would count as long as there was a second signature on the
   envelope at all:

8. Many ballot envelopes were already opened or unsealed on arrival, but those ballots
   were counted over objection;

9. I estimate that as many as 15 to 20% of the ballot envelopes I received had been
   opened;

10. Election observers were, in my opinion, required to observe from locations that
    prevented them from seeing much of the ballot counting.

   I affirm under the penalties of perjury the foregoing statements are true and correct
   (28 U.S.C. Sec. 1746)


   Dated December 10, 2020                   ____________________________
                                             David J. Bolter




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